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                                    No. 6:16-cr-00008-1


                                 Cory Carnell Mitchell,
                                        Petitioner,
                                             v.
                                United States of America,
                                       Respondent.


                                         ORDER

                 Petitioner Cory Mitchell, proceeding pro se, filed his fourth
             motion for compassionate release on September 21, 2020. Doc.
             266. This motion was denied on November 9, 2020. Doc. 270.
             Petitioner then filed a renewed motion for compassionate release
             (Doc. 276), which was denied on June 9, 2021, (Doc. 277).
                  Petitioner filed a notice of appeal on June 21, 2021 and sought
             leave to appeal in forma pauperis on July 16, 2021. Magistrate
             Judge John D. Love issued a report on July 26, 2021, recommend-
             ing that the motion be denied. Doc. 282. On August 17, 2021, pe-
             titioner filed a motion for extension of time to object. Doc. 283.
             This motion was granted on August 21, 2021, giving petitioner
             until September 30, 2021, in which to object.
                 On September 20, 2021, the report issued by the magistrate
             judge was returned to the court as undeliverable. Doc. 286. None-
             theless, it is clear that petitioner had access to or otherwise had
             knowledge of the report, in that his motion for extension of time
             specifically referenced the report and correctly identified the date
             upon which it issued.
                Petitioner has had ample time to object to the report or to re-
             quest another copy if he needed one. However, no objections have
             been received.
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                  When there have been no timely objections to a magistrate
             judge’s report and recommendation, the court reviews it only for
             clear error. See Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415,
             1420 (5th Cir. 1996). Having reviewed the magistrate judge’s re-
             port, and being satisfied that it contains no clear error, the court
             accepts its findings and recommendation. The court certifies pe-
             titioner’s appeal as not taken in good faith, and his motion for
             leave to proceed in forma pauperis on appeal is denied.
                                       So ordered by the court on October 6, 2021.



                                                    J. C A M P BE L L B AR KE R
                                                   United States District Judge




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